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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 DEBORAH HOLMES, et al.,

       Plaintiffs,                         CASE NO. 2:20-cv-11390-GCS-RSW

 v.                                        Judge George C. Steeh

 POLARIS INDUSTRIES INC.,                  Magistrate Judge David R. Grand

       Defendant.


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 David S. Shiener (P78608)                 Dawn M. Beery (IL 6256520)
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      DEFENDANT POLARIS INDUSTRIES INC.’S MOTION IN
  LIMINE NO. 1 TO BAR EVIDENCE OR ARGUMENT CONTRARY TO
 THE COURT’S ORDER GRANTING PARTIAL SUMMARY JUDGMENT

      Defendant Polaris Industries Inc. (“Polaris”) hereby files this Motion in

Limine No. 1 to preclude Plaintiffs, their attorneys, witnesses, experts, agents or any

others from discussing, mentioning or referring to in any manner during trial or in

the presence of the jury evidence or argument contrary to the Court’s March 8, 2022
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Order granting partial summary judgment and holding that the noneconomic

damages caps under the Michigan Product Liability Statute, MCL §§ 600.2945–

2949a apply to all of Plaintiffs’ claims in this case

      I.     Introduction and Procedural Background.

      Polaris anticipates that Plaintiffs may attempt to introduce evidence or present

argument contrary to the Court’s Order granting partial summary judgment and

holding that the Michigan Product Liability Statute, MCL §§ 600.2945–2949a (the

“MPLS”), caps noneconomic damages for all of Plaintiffs’ claims. The Court

decided this issue on March 8, 2022 (see ECF No. 29) and confirmed its decision

when the Court denied Plaintiffs’ motion for reconsideration on March 29, 2022.

(See ECF No. 31.)

      Polaris understands that Plaintiffs intend to argue (again) that Michigan’s cap

on noneconomic damages should not apply, this time because Polaris allegedly had

notice of the alleged defect and willfully disregarded that knowledge, an exception

to the noneconomic damages cap that is set out in MCL § 600.2949a. The Court has

already decided, twice, that the noneconomic damages cap applies. Equally

significant, Polaris raised this exact issue in its Motion for Partial Summary

Judgment. (ECF No. 25 at 11.) Plaintiffs ignored this issue altogether—in fact,

Plaintiffs never once argued in their opposition to Polaris’s Motion for Partial

Summary Judgment or in their Motion to Reconsider that the “actual knowledge”


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exception in MCL § 600.2949a could possibly be applicable here. In response to a

motion for partial summary judgment, Plaintiffs should put forward every potential

factual basis to support that the noneconomic damages caps do not apply. Plaintiffs

not only failed to do so -- indeed, they conceded this point by failing to respond to

Polaris’s argument. Plaintiffs appear to confuse the Court’s order granting partial

summary judgment with an interlocutory issue that may be revisited at any time. A

summary judgment ruling is not an Order that it is to be revisited at trial. The Court

has already decided this issue twice, and no new evidence exists following the

Court’s Orders. It should bar Plaintiffs’ attempt to take a third bite at the apple.

Polaris requests that the Court preclude Plaintiffs from presenting evidence or

argument contrary to the Court’s prior orders on the applicability of the

noneconomic damage caps.

      II.    Certification.

      The grounds and legal authority for Polaris’s motion are set forth below.

Pursuant to Local Rule 7.1(a), Polaris states that it has formally met and conferred

with Plaintiffs’ counsel, explained the nature of this motion and the legal basis for

it, and counsel did not concur in the relief sought.

      III.   Statement of Facts.

      This is a snowmobile products liability action arising from a February 9, 2019

single-vehicle snowmobile accident that occurred when Plaintiff Deborah Holmes


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lost control of a 2018 Polaris Switchback 600 Pro S snowmobile (the “Subject

Snowmobile”), collided with a group of trees, and was injured. Plaintiffs assert that

the accident was caused by an alleged stuck-throttle event and an alleged failure of

the snowmobile’s throttle release switch (“TRS”) to shut down the subject

snowmobile’s engine.

      A stuck throttle event occurs when the snowmobile’s throttle lever, which is

connected to the throttle itself by a mechanical cable, is released by the rider, but the

throttle cable or plates do not return to the normal closed position. This results in the

snowmobile’s engine maintaining its speed based on the last throttle position even

though the rider has released the throttle lever. Because of the possibility of stuck

throttle events occurring in some weather and riding conditions (i.e., heavy snow or

freezing rain, riding in very deep snow, or tipping/rolling the snowmobile in deep

snow), the snowmobile is equipped with a TRS. The TRS is designed to detect a

mismatch between the throttle lever position and the throttle plate position and

respond by shutting down the snowmobile’s engine. Specifically, Plaintiffs allege

that there was a defect, which they cannot identify with specificity, in the

snowmobile’s TRS that caused it to fail and not shut down the engine in response to

a stuck throttle event.

      In addition to alleging that the TRS is defective because it intermittently fails

to shut down the snowmobile in response to a stuck throttle condition, Plaintiffs also


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allege negligent maintenance of the Subject Snowmobile by Polaris, the owner of

the snowmobile at the time of the accident. Despite having no idea when the alleged

defect began, Plaintiffs’ expert, Robert Kinder, opines that if Polaris had followed

the maintenance schedule in the Owner’s Manual, Polaris would have had four

opportunities to detect the alleged problem with the TRS and prevent Plaintiff’s

accident.

       On November 5, 2021, Polaris brought a motion for partial summary

judgment on the issue of whether all of Plaintiffs’ claims are subject to the

noneconomic damages caps under the MPLS. In its motion, Polaris specifically

alleged that “both products liability theories are subject to the noneconomic

damages cap under MCL § 600.2946a.” (ECF No. 25 at 19–20 (emphasis added).)

Additionally, in its brief, Polaris addressed the inapplicability of the “actual

knowledge” exception to the noneconomic damages cap.1 (Id. at 20.) Plaintiffs filed

their response on November 26, 2021, and did not address, let alone rebut, Polaris’s

argument regarding an absence of “actual knowledge.” (ECF No. 26.) Polaris replied

on December 10, 2021. (ECF No. 28.)




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     Plaintiffs’ only evidence for actual knowledge in this case comes from 2 incidents in which
Plaintiffs allege that there was a stuck throttle and TRS failure. However, as set forth in Polaris’s
Motion in Limine No. 4 to Bar Evidence of Other Similar Incidents , neither of these events is
sufficiently similar to Plaintiffs’ alleged version of Mrs. Holmes’s accident. Therefore, Plaintiffs
are not entitled to put this evidence on in any event.
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      The Court issued its ten-page decision granting summary judgment on March

8, 2022. (ECF No. 29.) The Court noted that Plaintiffs did not dispute that their

product liability claim was subject to the caps, and thus the only “disputed issue for

purposes of the pending motion relates to whether the MPLS’s noneconomic

damages cap applies to plaintiffs’ negligence claim.” (Id. at 7.) The Court

determined that, because “plaintiffs’ action is that Holmes was injured because of a

defect in the throttle system, . . . [u]nder both theories, the essence of the claim is

based on product liability.” (Id. at 9.) The Court then held that Plaintiffs’ claims

under either theory are “therefore subject to the MPLS cap on non-economic

damages.” (Id. at 10.) Plaintiffs subsequently filed a motion for reconsideration

(ECF No. 30), which the Court denied. (ECF No. 31.)

      IV.    Argument.

      The Court should preclude any attempt by Plaintiffs to relitigate the

applicability of the damages cap for the third time, especially given that the issue

was already raised by Polaris on summary judgment and ignored by Plaintiffs in

response. In the Sixth Circuit, “a mechanism already exists in civil actions to resolve

non-evidentiary matters prior to trial—the summary-judgment motion.” Louzon v.

Ford Motor Co., 718 F.3d 556, 561 (6th Cir. 2013). “Allowing a party to litigate

matters that have been or should have been resolved at an earlier stage not only

allows those dissatisfied with the court's initial ruling a chance to relitigate, but also


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deprives their opponents of the procedural protections that attach at summary

judgment.” Id. (citing Williams v. Johnson, 747 F. Supp. 2d 10, 14 (D.D.C. 2010)).

      Courts in this district routinely invoke Louzon in circumstances such as this

and deny parties the ability to relitigate issues either decided or that should have

been decided on summary judgment. See, e.g., Hendrian v. Safety-Kleen Sys., Inc.,

No. 08-14371, 2014 WL 117315, at *12 (E.D. Mich. Jan. 13, 2014) (denying

plaintiff’s request for pre-trial order stating that non-economic damages are not

statutorily limited); Cook v. Greenleaf Township, No. 16-14060, 2018 WL 8803937

(E.D. Mich. Dec. 10, 2018) (finding that the proper time to raise theory on damages

was at summary judgment); Wendrow v. Mich. Dep’t of Human Servs., No. 08-

14324, 2014 WL 4965961 (E.D. Mich. Oct. 3, 2014) (finding that it is not

procedurally proper to address at the motion in limine stage the sufficiency of

evidence regarding emotional distress damages).

      The Court has already granted Polaris partial summary judgment and held that

Michigan’s statutory non-economic damages caps apply in this case after reviewing

Polaris’s opening brief, which argued that the “actual knowledge” exception does

not apply, and after reviewing Plaintiffs’ opposition brief, which did not challenge

Polaris’s assertion regarding lack of actual knowledge. The Court, after considering

the briefing—including the inapplicability of the “actual knowledge” exception—

determined that the damages cap applies to all of Plaintiffs’ claims. The Court then


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confirmed this ruling when it denied Plaintiffs’ motion for reconsideration. Once a

court has decided an issue of law, that becomes the law of the case going forward

and Plaintiffs should be barred from trying to contradict or circumvent that ruling at

trial. See CNH Am., LLC v. Int’l Union, United Auto., Aerospace & Agric. Implement

Workers of Am., No. 09-10584, 2009 WL 1259638, at *1 (E.D. Mich. Apr. 30, 2009)

(“The law of the case doctrine provides that ‘when a court decides upon a rule of

law, that decision should continue to govern the same issues in subsequent stages in

the same case.’”) (quoting Moses v. Bus. Card Express, Inc., 929 F.2d 1131, 1137

(6th Cir. 1991)). The Court should not allow Plaintiffs a third bite at the apple at trial

in this case.

       V.       Conclusion.

       For all of the reasons set forth above, the Court must bar in limine the

Plaintiffs, their attorneys, witnesses, experts, agents or any others from discussing,

mentioning or referring to in any manner during trial or in the presence of the jury

evidence or argument contrary to the Court’s March 8, 2022 Order granting partial

summary judgment in favor of Polaris.


DATED: May 24, 2022

                                       Respectfully submitted,

                                       s/ Matthew E. Nirider



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                            CERTIFICATE OF SERVICE


       I hereby certify that on May 24, 2022, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system, which will send

 notification of such filing to all counsel of record in this matter.


                                          /s/ Matthew E. Nirider

                                          Matthew E. Nirider




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